                                                                        SO ORDERED.


                                                                         Dated: July 10, 2019

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 3                                                                      Eddward P. Ballinger Jr., Bankruptcy Judge
                                                                        _________________________________
 4

 5

 6                           IN THE UNITED STATES BANKRUPTCY COURT
 7                                   FOR THE DISTRICT OF ARIZONA
 8

 9   IN RE:                                                    No. 2:19-bk-02179-EPB
10
     Elgie Johnson and Victoria J. Johnson
                Debtors.                                                      Chapter 13
11
     ________________________________________
12   Nationstar Mortgage LLC d/b/a Mr. Cooper                           (Related to Docket #26)

13                   Movant,                                ORDER APPROVING STIPULATION
              vs.                                              REGARDING REMOVAL OF
14                                                               BANKRUPTCY STAY

15
     Elgie Johnson and Victoria J. Johnson, Debtors;              RE: Real Property Located at
     David M. Reaves, Trustee.                                         904 W Saddle Ln
16                                                                    Payson, AZ 85541
                     Respondents.                              AS AMENDED BY THE COURT
17

18            Upon consideration of the Stipulation Regarding Removal of Bankruptcy Stay (the
19
     “Stipulation”) filed at Docket No. 26, and for good cause shown;
20
              IT IS HEREBY ORDERED that the Stipulation is APPROVED., as amended.
21
                                           SIGNED AND DATED ABOVE.
22

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25

26




     Case 2:19-bk-02179-EPB         Doc 28 Filed 07/10/19 Entered 07/10/19 11:29:12                Desc
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